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                                       UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF VIRGINIA
                                              Lynchburg Division


  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA, et al.,

                         Plaintiffs,
                                                                 Case No. 6:20-cv-00024-NKM
                  v.

  VIRGINIA   STATE                     BOARD           OF
  ELECTIONS, et al.,

                         Defendants.


                       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

             Plaintiffs League of Women Voters of Virginia (the “League”), Katherine D. Crowley,

  Seijra Toogood, Gayle Hardy, Carol D. Petersen, and Tracy Safran (“Plaintiffs”) respectfully move

  for a preliminary injunction under Federal Rule of Civil Procedure 65(a). They do so to prevent

  hundreds of thousands of Virginia voters, including Plaintiffs and League members, from being

  forced to choose between risking their health to vote and disenfranchisement due to Virginia’s

  absentee ballot witness requirement in the upcoming November 3 general election and any other

  elections affected by the spread of COVID-19. This witness requirement mandates that absentee

  ballot voters have another individual witness the voter opening their ballot envelope and have that

  witness sign the ballot envelope, as stated in Va. Code § 24.2-706 and § 24.2-707 and as interpreted

  by 1 Va. Admin. Code 20-70-20(B). In support of this Motion, Plaintiffs rely upon the

  accompanying Brief in Support of Plaintiffs’ Motion for a Preliminary Injunction, 1 and the

  attached declarations and exhibits.


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      Plaintiffs filed a consent motion to expand page limits for opening and response briefs from 25 pages to 40 pages.
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         Plaintiffs are likely to succeed on the merits of their claim that Virginia’s witness

  requirement unconstitutionally burdens the right to vote in light of the COVID-19 outbreak.

  Because approximately one-quarter of Virginians of voting age live alone, the witness requirement

  means that these individuals must either risk their health to vote or face disenfranchisement—a

  burden that falls particularly hard on Virginia’s senior citizens, citizens with disabilities, Black

  citizens, and citizens contending with poverty. The witness requirement offers little, if any, benefit

  to the Commonwealth’s election integrity interests in light of the myriad other election integrity

  laws and procedures in place and the ineffectiveness of the requirement. Without preliminary

  relief, Plaintiffs and many thousands of other Virginia voters will face irreparable harm, as detailed

  in the supporting brief. The balance of the equities and the public interest also favor granting a

  preliminary injunction, as doing so would support both the right of all eligible Virginians to vote

  and public health.

         Plaintiffs therefore seek a preliminary injunction:

         (1) Prohibiting Defendants from enforcing the witness requirement (as stated in Va. Code
         § 24.2-706 and § 24.2-707 and as interpreted by 1 Va. Admin. Code 20-70-20(B)) for all
         Virginia voters for the November 3 general election and for any and all subsequent
         elections in Virginia until such time as in-person interactions required by compliance with
         the witness requirement no longer pose a risk to public health and personal safety;

         (2) Ordering Defendants to issue guidance instructing city and county election officials to
         count otherwise validly cast absentee ballots that are missing a witness signature for the
         November 3 general election and any future elections during the time period for which the
         Court orders relief; and

         (3) Ordering Defendants to conduct a public information campaign informing Virginia
         voters about the elimination of this requirement, in coordination with city and county
         election officials.




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  Dated: July 24, 2020                   Respectfully submitted,

                                            /s/ Davin M. Rosborough_______________
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                                   CERTIFICATE OF SERVICE

         I certify that on July 24, 2020, I served a copy of the foregoing Plaintiffs’ Motion for a

  Preliminary Injunction on Counsel for Defendants via filing with the Court’s CM/ECF system,

  which will send a copy to counsel for all parties.



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